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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


 STATE OF NEW YORK, et al.,

                  Plaintiffs,

 v.                                       No. 20-cv-2340(EGS)

 DONALD J. TRUMP, in his
 official capacity as President
 of the United States, et al.,

                  Defendants.


                          MEMORANDUM OPINION

I. Introduction

      Plaintiffs, the States of New York, Hawaii, and New Jersey;

the City of New York; and the City and County of San Francisco

filed this lawsuit against Defendants Donald J. Trump, in his

official capacity as President of the United States; Louis DeJoy

(“Mr. DeJoy”), in his official capacity as Postmaster General of

the United States; and the United States Postal Service (“USPS”

or (“Postal Service”) alleging the following claims: (1) Ultra

Vires Agency Action—Postal Accountability and Enhancement Act;

(2) Ultra Vires Agency Action—Postal Reorganization Act; and (3)

violation of the Elections Clause of the United States

Constitution. Plaintiffs seek a preliminary injunction with

regard to their Postal Accountability and Enhancement Act claim.

Upon consideration of the Plaintiffs’ motion, the response, and

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reply thereto, the applicable law, and the entire record, the

Court GRANTS Plaintiffs’ motion.

II. Background

     A.   Statutory and Regulatory Framework

     In the Postal Reorganization Act (“PRA”), Public Law 91-375,

84 Stat. 719 (Aug. 12, 1970), Congress replaced the Post Office

Department with the United States Postal Service as “an independent

establishment of the executive branch of the Government of the

United States, under the direction of a Board of Governors, with

the Postmaster General as its chief executive officer.” 39 C.F.R. §

1.1. The PRA also created an independent oversight body for the

USPS, the Postal Rate Commission. 39 U.S.C. § 501. Congress

passed the PRA to “[i]nsulate” the management of the USPS “from

partisan politics    . . . by having the Postmaster General

responsible to the [Postal Rate] Commission, which represents

the public interest only, for his conduct of the affairs of the

Postal Service.” H.R. Rep. No. 91-1104, 3660-61 (1970).

     In the Postal Accountability and Enhancement Act (“PAEA”),

Pub. L. No. 109-435, 120 Stat. 3198 (Dec. 20, 2006) (codified at

39 U.S.C. § 3600 et seq.), Congress replaced the Postal Rate

Commission with the Postal Regulatory Commission (“PRC” or

“Commission”) and “strengthened its role.” Carlson v. Postal

Regul. Comm’n, 938 F.3d 337, 340 (D.C. Cir. 2019).




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     The USPS is responsible for “develop[ing] and promot[ing]

adequate and efficient postal services.” 39 U.S.C. § 3661(a).

“When the Postal Service determines that there should be a

change in the nature of postal services [that] will generally

affect service on a nationwide or substantially nationwide

basis,” it must “submit a proposal, within a reasonable time

prior to the effective date of such proposal, to the Postal

Regulatory Commission requesting an advisory opinion on the

change.” Id. § 3661(b). This provision was enacted in the PRA,

and the only change made in the PAEA was to replace the original

“Postal Rate Commission” with the “Postal Regulatory

Commission.”

     Following the submission of a proposal, “[t]he Commission

shall not issue its opinion on any proposal until an opportunity

for hearing on the record under [the Administrative Procedure

Act] has been accorded the Postal Service, users of the mail,

and an officer of the Commission who shall be required to

represent the interests of the general public. The opinion shall

be in writing and shall include a certification by each

Commissioner agreeing with the opinion that in his judgment the

opinion conforms to the policies established under this title.”

39 U.S.C. § 3661(c).




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     B. Factual Background

          1.   The COVID-19 Pandemic

     Plaintiffs assert that the COVID-19 pandemic has increased

reliance on mail delivered by the USPS. See Mem. Supp. Mot.

Prelim. Inj. (“Mot.”), ECF No. 12-1 at 8. 1 According to

Plaintiffs, ‘“[b]ecause COVID-19 is ‘primarily spread through

person-to-person contact,’ Ku[2] Decl.[, ECF No. 12-13]         ¶ 13,

state and local governments, including Plaintiffs here, have

undertaken serious efforts to minimize in-person gatherings.”

Id. Plaintiffs further state that “some . . . have transformed

their plans for the November 2020 election to facilitate voting

by mail.” Id. (citing    Adinaro 3 Decl., ECF No. 12-4 ¶ 9; Kellner 4

Decl., ECF No. 12-12 ¶¶ 16–17; Ku Decl., ECF No. 12-13 ¶¶ 8–10;

P.L. 2020, ch.72 (N.J. August 28, 2020) (providing that New

Jersey’s November General Election is to be conducted primarily

by vote-by-mail in part to reduce the risk of community spread

of COVID-19 at polling locations)). Those Plaintiffs that have



1
  When citing electronic filings throughout this Opinion, the
Court cites to the ECF page number, not the page number of the
filed document.
2
  Leighton Ku is a Professor of Public Health Policy and
Management and Director of the Center for Health Policy Research
at the Milken Institute School of Public Health, George
Washington University.
3
  David Adinaro is the Deputy Commissioner for Public Health
Services for the New Jersey Department of Health.
4
  Douglas Kellner is the Co-Chair of the New York State Board of
Elections.
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“mail-based election systems” in place “seek to preserve [them]

during a pandemic.” Id. (citing Henricks 5 Decl. ¶ 3, ECF No. 12-

9; Kaohu 6 Decl., ECF No. 12-11 ¶ 3; Takahashi 7 Decl., ECF No. 12-

19 ¶ 3.) Plaintiffs state they “have also expended time, money,

and resources to educate the public about social distancing, see

Adinaro Decl., ECF No. 12-4     ¶ 8, and to continue to meet their

legal obligations to their residents and to administer public

benefits programs by increased reliance on U.S. mail, Banks 8

Decl., ECF No. 12-5 ¶¶ 4–7, 11, 14; Newton 9 Decl., ECF No. 12-15

¶ 9.” Id.

            2.   USPS Postal Policy Changes

     In June and July 2020, the USPS announced and implemented

four changes (collectively, “Postal Policy Changes”) to how it

collects, processes and delivers mail. First, on June 17, 2020,

the USPS announced that it would be removing 671 high-speed

sorting machines nationwide “over the next several months.”

Pls.’ Ex. 17, ECF No. 12-20 at 2-4.

     Second, on July 10, 2020, the USPS announced an

“operational pivot” to make “immediate, lasting, and impactful


5 Jon Henricks is the County Clerk for the County of Hawaii.
6 Kathy Kaohu is the County Clerk for the County of Maui.
7 Glen Takahashi is the City Clerk for the City and County of

Honolulu.
8 Steven Banks is the Commissioner of the New York City

Department of Social Services.
9 Jack Newton is the Director of the Public Benefits Unit as

Bronx Legal Services.
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changes in our operations and culture.” Pls.’ Ex. 21, ECF No.

12-24 at 2. These changes included prohibiting “late trips” and

“extra trips.” Id. “[I]t has long been typical for postal

drivers to depart for post offices or delivery points a short

period after the prescribed time if needed to ensure that all

the mail for that truck would be loaded before departure.”

Coradi 10 Decl., ECF No. 12-34 ¶ 13. “Extra” trips are non-

scheduled delivery trips, which ensure that the agency can

maintain the necessary flexibility to timely deliver mail to 160

million addresses for six days a week, id. ¶¶ 5, 14; and have

long allowed the agency to account for daily fluctuations in

mail volume, processing malfunctions or errors, and other

disruptions, id. ¶¶ 13-4. Late trips and extra trips “are needed

adjustments to adequately administer a system responsible for

delivering over 470 million pieces of mail per day. They are

features of the postal system, not bugs.” Id. ¶ 14.

     The USPS knew that prohibiting these trips would result in

delayed mail delivery: “One aspect of these changes that may be

difficult for employees is that—temporarily—we may see mail left

behind or mail on the workroom floor or docks (in P&DCs), which




 Peter Coradi has been the National Business Agent “A” for the
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Clerk Division, New York Region of the American Postal Workers
Union since November 2001. Clerks in the Clerk Division are
responsible for, among other things, mail processing, bulk mail
entry, retail windows, and call centers.
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is not typical.” Pls.’ Ex. 21, ECF No. 12-24 at 2. By August 13,

2020, the USPS had reduced the number of late trips by 71

percent. Pls.’ Ex. 19, ECF No. 12-22 at 2. Defendants have

clarified that late or extra trips are not “banned”; however,

they acknowledge that they continue “at a reduced level.” Suppl.

Cintron Decl., ECF No. 39-1 ¶ 4. On September 21, 2020, USPS

also issued “Operational Instructions” providing that

“transportation, in the form of late or extra trips that are

reasonably necessary to complete timely mail delivery, is not to

be unreasonably restricted or prohibited. Managers are

authorized to use their best business judgment to meet our

service commitments.” See Ex. 1 to Notice Suppl. Material, ECF

No. 50-1 at 4.

     Third, the USPS announced another “initiative” that

prohibited mail carriers in certain cities from spending time in

the morning sorting mail so they could “leave for the street

earlier.” Pls.’ Ex. 22, ECF No. 12-25 at 2. This meant that

carriers were being ordered to not deliver mail that had arrived

overnight, but rather sort it in the afternoon, meaning that it

would not be delivered until the next day. Id. On August 24,

2020, Mr. DeJoy testified that he stopped this pilot project.

See House Oversight and Reform Committee Hearing Tr. (“House

Committee Hearing”), Aug. 24, 2020, Defs.’ Ex. 14, ECF No. 30-3

at 449.

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     Fourth, on or around July 29, 2020, the USPS General

Counsel informed 46 states and the District of Columbia that if

the states did not pay First Class postage on ballots sent to

voters, there would be a risk that voters would not receive

their ballots in time to return them by mail. See U.S. Postal

Service letters to states, Wash. Post (Aug. 17, 2020),

https://context-

cdn.washingtonpost.com/notes/prod/default/documents/d1b752f9-

f8c9-4c18-b548-4eb9668c672a/note/36253644-7029-4dd3-bd1c-

f824054400c2. 11 This was a change to the USPS policy of treating

election mail and political mail mailed as marketing mail on an

expedited First-Class basis. Pls.’ Ex. 30, 12-33 at 12.

     It is undisputed that the USPS did not seek an advisory

opinion pursuant to Section 3661(b) from the PRC prior to

implementing these changes.

          3.   USPS Postal Policy Changes Have Led to Nationwide
               Delays and Continue to Have a Nationwide Impact

     USPS records indicate that nationally, on-time delivery of

First-Class Mail began to decline in late June 2020, going from

roughly 90 to 94 percent prior to the implementation of the

Postal Policy changes to 82 percent in early August. Pls.’ Ex.

28, ECF No. 12-31 at 11. In the August 13, 2020 email to all




 The Court takes judicial notice of the letters from the USPS to
11

46 states and the District of Columbia. Fed. R. Evid. 201(b)(2).
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USPS employees, Mr. DeJoy acknowledged that “this transformative

initiative has had unintended consequences that impacted our

overall service levels.” Pls.’ Ex. 19, ECF No. 12-22 at 2; see

also House Committee Hearing, Defs.’ Ex. 14, ECF No. 30-3 at 455

(Mr. DeJoy testifying that mitigating late trips and extra trips

“was not expected to have the impact it had for the duration of

the period that it had”).

     On August 18, 2020, Mr. DeJoy issued a statement that the

USPS would be suspending “some longstanding operational

initiatives—efforts that predate my arrival at the Postal

Service—that have been raised as areas of concern as the nation

prepares to hold an election in the midst of a devastating

pandemic.” Pls.’ Ex. 20, ECF No. 12-23 at 2. Specifically, Mr.

DeJoy stated that: (1) “[r]etail hours at Post Offices will not

change”; (2) “[m]ail processing equipment and blue collection

boxes will remain where they are”; (3) “[n]o mail processing

facilities will be closed”; (4) “overtime has, and will continue

to be, approved as needed.” Id.; see also House Committee

Hearing, ECF No. 30-3 at 484 (Mr. DeJoy testifying that he

halted the pilot program, the removal of collection boxes,

reducing hours at postal retail centers, and the removal of flat

and mail sorting machines).

     Except for “mail processing equipment,” the suspension did

not apply to the rest of the Postal Policy Changes at issue

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here. See also Senate Homeland Security and Government Affairs

Committee Hearing (“Senate Committee Hearing”), Aug. 21, 2020,

Defs.’ Ex. 5, ECF No. 30-2 at 107 (Mr. DeJoy stating that the

policy of mitigating extra trips would not be suspended); id. at

108 (Mr. DeJoy stating that none of the mail processors that had

been removed would be brought back).

     With regard to election mail, Mr. DeJoy testified before

the Senate Committee that states would not have to use First-

Class Mail for election mail. Id. at 110. However, in his

testimony before the House Committee, he testified that states

and election boards should follow the recommendation in letters

from the USPS General Counsel to the states and the District of

Columbia that election officials use First-Class Mail to mail

ballots to voters. House Committee Hearing, Defs.’ Ex. 14, ECF

No. 30-3 at 433; see also id. at 394 (Mr. DeJoy testifying that

the USPS “will try to fulfill” “objectives” for “normal

processing procedures plus enhanced procedures” to ensure the

ballots get delivered in time).

     USPS records indicate that nationally, on-time delivery of

First-Class Mail as of August 22, 2020 was slightly above 85

percent. Pls.’ Ex. 28, ECF No. 12-31 at 11.

     B.   Procedural Background

     Plaintiffs filed this lawsuit on August 25, 2020. On

September 2, 2020, they filed a motion for a preliminary

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injunction, which requests that the Court enjoin the defendants

from enforcing the Postal Policy Changes. See Mot., ECF No. 12-

1. The defendants filed their opposition on September 11, 2020.

See Defs.’ Opp’n Mot. Prelim. Inj. (“Defs.’ Opp’n”), ECF No. 30.

The Plaintiffs filed their reply brief on September 16, 2020.

See Pls.’ Reply (“Reply”), ECF No. 40. The motion is ripe for

the Court’s consideration.

III. Standard of Review

     “A plaintiff seeking a preliminary injunction must

establish [1] that [they are] likely to succeed on the merits,

[2] that [they are] likely to suffer irreparable harm in the

absence of preliminary relief, [3] that the balance of equities

tips in his favor, and [4] that an injunction is in the public

interest.” Aamer v. Obama, 742 F.3d 1023, 1038 (D.C. Cir. 2014)

(alteration in original) (quoting Sherley v. Sebelius, 644 F.3d

388, 392 (D.C. Cir. 2011)). Where the federal government is the

opposing party, the balance of equities and public interest

factors merge. See Nken v. Holder, 556 U.S. 418, 435 (2009). A

preliminary injunction is an “extraordinary remedy that may only

be awarded upon a clear showing that the plaintiff is entitled

to such relief.” Winter v. Nat. Res. Def. Council, Inc., 555

U.S. 7, 22 (2008). “The purpose of a preliminary injunction is

merely to preserve the relative positions of the parties until a

trial on the merits can be held.” Univ. of Tex. v. Camenisch,

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451 U.S. 390, 395 (1981). In this Circuit, the four factors have

typically been evaluated on a “sliding scale,” such that if “the

movant makes an unusually strong showing on one of the factors,

then it does not necessarily have to make as strong a showing on

another factor.” Davis v. Pension Benefit Guar. Corp., 571 F.3d

1288, 1291–92 (D.C. Cir. 2009).

      In the wake of the Supreme Court’s decision in Winter v.

Natural Resources Defense Council, 555 U.S. 7 (2008), “the D.C.

Circuit has suggested that a positive showing on all four

preliminary injunction factors may be required.” Holmes v. FEC,

71 F. Supp. 3d 178, 183 n.4 (D.D.C. 2014); see also Sherley, 644

F.3d at 393 (“[W]e read Winter at least to suggest if not to

hold that a likelihood of success is an independent, free-

standing requirement for a preliminary injunction.”) (quotation

marks omitted). Nonetheless, “the Circuit has had no occasion to

decide this question because it has not yet encountered a post-

Winter case where a preliminary injunction motion survived the

less rigorous sliding-scale analysis.” ConverDyn v. Moniz, 68 F.

Supp. 3d 34, 46 n.2 (D.D.C. 2014).

IV.   Analysis

      Plaintiffs argue that they are likely to succeed on the

merits of their Section 3661 claim because the USPS “failed to

submit the Postal Policy Changes to the Postal Regulatory

Commission in advance for an advisory opinion as required under

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39 U.S.C. § 3661(b) (and the Commission’s rules), despite their

significant effect on postal service nationwide,” Mot., ECF No.

12-1 at 16; and that this Court has the authority to review the

Postal Policy changes as ultra vires agency action, id.

     Defendants respond that Plaintiffs lack Article III

standing, that district courts lack subject matter jurisdiction

over Section 3661 claims, and that Plaintiffs’ claim does not

satisfy the requirements for ultra vires review. Defs.’ Opp’n,

ECF No. 30 at 32, 35, 39.

     A.   Plaintiffs Are Likely To Succeed On The Merits Of Their
          39 U.S.C. § 3661(b) Claim

          1.   Plaintiffs Likely Have Standing To Bring This
               Challenge

     To establish standing, “a plaintiff must show (1) an

‘injury in fact,’ (2) a sufficient ‘causal connection between

the injury and the conduct complained of,’ and (3) a

‘likel[ihood]’ that the injury ‘will be redressed by a favorable

decision.’” Susan B. Anthony List v. Driehaus, 134 S. Ct. 2334,

2341 (2014) (quoting Lujan v. Defenders of Wildlife, 504 U.S.

555, 560-61 (1992)). “Standing to seek . . . forward-looking

injunctive relief requires [Plaintiff] to show [that it] is

suffering an ongoing injury or faces immediate injury. For a

future injury, that means submitting evidence showing that there

is a substantial risk that the harm will recur.” Narragansett

Indian Tribal Historic Preservation Office v. FERC, 949 F.3d 8,

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13 (D.C. Cir. 2020) (internal quotation marks, citations, and

alterations in original omitted).

     “The party invoking federal jurisdiction bears the burden

of establishing these elements.” Lujan, 504 U.S. at 561

(citations omitted). “Since they are not mere pleading

requirements but rather an indispensable part of the plaintiff's

case, each element must be supported in the same way as any

other matter on which the plaintiff bears the burden of proof,

i.e., with the manner and degree of evidence required at the

successive stages of the litigation.” Id.

     Defendants contend that Plaintiffs lack standing for two

reasons. 12 First, they cannot show a causal connection because

they have “produce[d] no evidence that any delay in mail

delivery will come from the reduction in capacity of mail

processing machines,” noting that the “mail processing machines

are still only being utilized at a sixty-five percent rate . . .

which means that there is ample extra capacity.”        Defs.’ Opp’n,

ECF No. 30 at 33. However, Plaintiffs have provided evidence

that the elimination of the machines has and will continue to


12Defendants also argue that plaintiffs lack standing because
they allege an injury by the “expedited to Street/Afternoon
Sortation” initiative, which has been suspended. Defs. Opp’n,
ECF No. 30 at 26. Plaintiffs respond—and the Court agrees—that
defendants “may not defeat [p]laintiffs’ standing by voluntarily
suspending just one of several offending policies, especially
where there is no prohibition on that policy’s resumption.”
Reply, ECF No. 40 at 13.
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cause delayed mail. See Coradi Decl., ECF No. 12-31 ¶ 9

(“[E]mployees report astonishing amounts of delayed mail in

facilities that I have visited multiple times . . . I have never

heard anything like it in my 36 years serving the U.S. Postal

Service and its employees.”); id. ¶ 16 (“With fewer sorting

machines for letter mail and flat mail, Postal employees must

adapt the remaining machines to accommodate more volume or sort

letter and flat mail manually.”).

     Second, Defendants concede that the policy change regarding

extra and late trips resulted in delayed mail in the past, but

argue that “Plaintiffs cannot show that USPS’s activities are

harming Plaintiffs now and in the future,” stating that “while

there ‘was a temporary decline in meeting service standards’ in

mid-July” that decline was addressed and “‘service performance

is rapidly returning to early July levels.’” Defs.’ Opp’n, ECF

No. 30 at 33. Defendants also argue that Plaintiffs’ complaint

about election mail delays are entirely speculative, noting “the

enormous efforts that USPS has put into place (and will continue

or supplement through the Election) to ensure that ballots are

timely delivered.” Id. at 34. Defendants also argue that

Plaintiffs have not established that the decline was due to

reducing unnecessary trips rather than staffing shortages due to

COVID-19. Id. at 34.



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     However, Plaintiffs have provided evidence that reducing

extra or late trips will necessarily cause delays in the

delivery of mail. See Grimmer 13 Decl., ECF No. 40-3 ¶ 10

(decrease in the number of extra or late trips will delay the

delivery of letters); Goldway 14 Decl., ECF No. 40-5 ¶ 31 (“It is

my opinion, based on my two decades of experience reviewing

Postal Service operations, that eliminating local flexibility

and requiring rigid adherence to transportation scheduled would

negatively impact service performance.”). Moreover, Plaintiffs

have provided proof that delays, both locally and nationally,

have continued. See Failure to Deliver, U.S. Senate Committee on

Homeland Security and Governmental Affairs, Minority Staff

Report, ECF No. 40-9 at 3 (finding that nationwide during the

second week of August, “85 million more deliveries were late in

a single week compared to what the late deliveries would have

been that week under on-time delivery rates before the

changes”); id. (finding that “[s]ome parts of the country saw

on-time delivery drop by 15-20 percentage points in the weeks

following Mr. DeJoy’s July 2020 changes”). USPS’s own data shows




13 Justin Grimmer, a Professor of Political Science at Stanford
University, made a preliminary assessment of the impact of the
policy change limiting the number of extra and late trips based
on the USPS August 31, 2020 powerpoint.
14 Ruth Goldway served on the U.S. Postal Regulatory Commission

from 1998 to 2015, having been appointed and reappointed by
Presidents Clinton, George W. Bush, and Obama.
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declines in on-time delivery of First-Class Mail continuing into

August. Ex. 37, ECF No. 40-8. Moreover, in an August 13, 2020

email to all USPS employees, Mr. DeJoy acknowledged that “this

transformative initiative has had unintended consequences that

impacted our overall service levels.” Pls.’ Ex. 19, ECF No. 12-

22 at 2. Finally, Plaintiffs have rebutted Defendants’ argument

that the decline was due to reducing unnecessary trips rather

than staffing shortages due to COVID-19 by pointing out that the

sharp decline in on-time deliveries occurred in July and August

2020, months after COVID-19 infections began to spike in the

United States in March 2020. Reply, ECF No. 40 at 11.

     Accordingly, Plaintiffs have shown that there is a

substantial likelihood that the on-going non-speculative harms

they allege caused by mail delays are “fairly traceable” to the

Postal Policy Changes. Lujan, 504 U.S. at 560.

          2.   This Court Likely Has Subject Matter Jurisdiction
               Over The Section 3661 Claim

     Defendants contend that this Court lacks subject matter

jurisdiction over “complaints regarding” Section 3661 because

such complaints must first be made to the PRC and then appealed

to the United States Court of Appeals for the District of

Columbia Circuit (“D.C. Circuit”). Defs.’ Opp’n, ECF No. 30 at

35. The statutory scheme provides as follows. 39 U.S.C. § 409(a)

provides that “[e]xcept as otherwise provided in this title, the


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United States district courts shall have original but not

exclusive jurisdiction over all actions brought by or against

the Postal Service.” One of the exceptions to this original

jurisdiction is 39 U.S.C. § 3662, which provides that “[a]ny

interested person . . . who believe[s] the Postal Service is not

operating in conformance with the requirements of a provision of

. . . this chapter (or regulations promulgated under any of

these provisions) may lodge a complaint with the Postal

Regulatory Commission . . . .” Section 3662(b) requires the PRC

to respond to the complaint within 90 days and that if a

complaint is not timely responded to, a petition for review may

be filed with the D.C. Circuit, which also has jurisdiction to

review final orders or decisions of the PRC.

     Plaintiffs’ complaint alleges a procedural violation—that

USPS failed to comply with the requirement that “[w]hen the

Postal Service determines that there should be a change in the

nature of postal services which will generally affect service on

a nationwide or substantially nationwide basis, it shall submit

a proposal, within a reasonable time prior to the effective date

of such proposal, to the Postal Regulatory commission requesting

an advisory opinion on the change.” 39 U.S.C. § 3661. Section

3661(c) requires that the opinion shall not be issued until

there is opportunity for notice and comment under applicable

provisions of the Administrative Procedure Act.

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     Defendants contend that “[c]ourts have repeatedly held that

19 U.S.C. §§ 3662 and 3663 constitute the exclusive

jurisdictional remedy for complaints about postal services that

fall within the statutory provisions specifically identified in

section 3662.” Defs.’ Opp’n, ECF No. 30 at 36. However,

Defendants have provided no mandatory authority to support their

assertion that Sections 3662 and 3663 constitute the exclusive

jurisdictional remedy for a claim that the USPS has failed to

comply with the procedural requirements of Section 3661.

     “Whether a statute is intended to preclude initial judicial

review is determined by the statute’s language, structure, and

purpose, its legislative history, and whether the claims can be

afforded meaningful review.” Thunder Basin Coal Co. v. Reich,

510 U.S. 200, 307 (1994) (internal citation omitted). The

language of the statute is broad:       “[a]ny interested person . .

. who believe[s] the Postal Service is not operating in

conformance with the requirements of a provision of         . . . this

chapter (or regulations promulgated under any of these

provisions) may lodge a complaint with the Postal Regulatory

Commission . . . .” 39 U.S.C. § 3662. This could certainly be

read to mean that the failure of the USPS to comply with the

procedural requirement set for in Section 3661 would be

encompassed by Section 3662. Plaintiff argues that the use of

the permissive “may” in Section 3662 coupled with the mandatory

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phrasing “shall” in Section 3662(c) shows Congress did not

intend to limit jurisdiction over Section 3661 claims. Reply,

ECF No. 40 at 14. The statute consistently uses the word “may”

when setting forth the procedure for filing complaints and for

seeking appellate review of the PRC’s determination (or failure

to make a determination): any interested person “may” lodge a

complaint with the PRC, and if the interested person is

unsatisfied with the response or does not receive a timely

response, they “may” file a petition with the D.C. Circuit. 39

U.S.C. §§ 3662(a), 3663. The use of the permissive “may” coupled

with the use of the mandatory “shall” suggests that Sections

3662(a) and 3663 were not intended to be the exclusive avenue

for bringing a procedural challenge to the USPS’s failure to

comply with Section 3661. See Bennett v. Panama Canal Co., 475

F.2d 1280, 1828 (D.C. Cir. 1973) (“[T]he permissive

interpretation is conclusively proven to be correct [together

with the particular legislative history] by the fact that when

in the same statute Congress intended a mandatory direction it

used the auxiliary ‘shall’ not ‘may’-a contrast which is

generally significant . . . .”). This interpretation is

strengthened because the statute expressly provides that this

Court has original jurisdiction “over all actions brought by or

against the Postal Service” unless “otherwise provided in [title

39].” 39 U.S.C. § 409(a).

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     The availability of judicial review for the USPS’s failure

to comply with the procedural requirements in Section 3661 is

consistent with the legislative history of the PRA. In the

discussion of the section of the PRA that established the

“procedures for changes in postal service,” the House Committee

Report states the “[t]he postal service is—first, last, and

always—a public service” and that the PRA “require[s] [Postal

Services management] to seek out the needs and desires of its

present and potential customers—the American public.” H.R. Rep.

No. 91-1104 at 3668. The Committee Report describes provisions

in the act that “contain[] specific provisions requiring

justification and review of changes in service.” Id.; see also

Buchanan v. U.S. Postal Serv., 508 F.2d 259, 263 n.6 (5th Cir.

1975) (“[T]he procedures mandated by [Section] 3661 are

sufficiently elaborate to amount to a significant impediment in

the path of the decision-making process of the Postal

Service.”).

     The Court must also consider whether the claim may be

reviewed because there is no other meaningful or adequate avenue

for judicial review. See Thunder Basin Coal Co., 510 U.S. at

307. District court jurisdiction may not be implicitly precluded

based on consideration of the following factors: (1) if “‘a

finding of preclusion could foreclose all meaningful judicial

review’”; (2) if the claim is “‘wholly collateral to a statute’s

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review provisions’”; and (3) if the claims are “‘outside the

agency’s expertise’” to discern “whether the particular claims

at issue fall outside an overarching congressional design.” 15

Jaresky v. SEC, 803 F.3d 9, 17 (D.D.C. 2015) (quoting Free

Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 489-

90 (2010). Mindful of the fact that the 90-day window for the

PRC to respond to a complaint brought pursuant to Section 3661,

Defendants contend that it does not matter that the PRC cannot

provide immediate relief because eventual relief is sufficient

as a matter of law. Defs.’ Opp’n, ECF No. 30 at 39 n.11.

However, the authority upon which Defendants rely, American

Federation of Government Employees, AFL-CIO v. Trump, 929 F.3d

748 (D.D.C. 2019), is inapposite. There, the court held that

meaningful judicial review was not foreclosed because Plaintiffs

were unable to obtain “‘pre-implementation’ review of executive

orders or immediate relief barring all agencies from

implementing the executive orders,’” id. at 755-56, because

there the parties agreed to consolidate their preliminary

injunction requests with the merits, see Scheduling Order, Civil

Action No. 18-1261, ECF No. 16 at 1.

     With regard to the first consideration—whether Plaintiffs

would be denied meaningful review—it is clear that they would.


15Defendants’ assertion that the three factors must be met is
incorrect. See Jaresky v. SEC, 803 F.3d at 17.
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Plaintiffs have shown that the USPS implemented dramatic

operational changes that have resulted in delayed mail that

“have negatively affected and will continue to negatively affect

Plaintiffs’ ability not only to provide necessary services to

residents in need and administer their own laws and regulations,

but also to protect public health by providing safe and

effective means to vote by mail in the upcoming general

election.” Reply, ECF No. 40 at 16. Accordingly, even if there

was a “fairly discernible” intent in the statutory scheme to

preclude district court jurisdiction, requiring Plaintiffs to go

through the PRC process would deny them meaningful review. See

Berkley v. Mountain Valley Pipeline, LLC, 896 F.3d 624, 631 (4th

Cir. 2018) (noting that “plaintiffs are denied meaningful review

when they are subject to some additional and irremediable harm

beyond the burdens associated with the dispute resolution

process”) (internal quotation marks and citations omitted));

Krescholleck v. S. Stevedoring Co., 78 F.3d 868, 875 (3d Cir.

1996) (noting that the plaintiff had “alleged a sufficiently

serious irreparable injury to lead us to conclude that the

administrative review process is insufficient to afford him full

relief”). And persuasive authority holds that this factor is the

“most important.” Berkley, 896 F.3d at 630. Accordingly, this

first factor weighs in favor of finding Congress intended

district courts to have jurisdiction over claims such as this

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one brought by Plaintiffs. The second consideration–whether the

claim is wholly collateral to the statutory scheme—is “‘related’

to whether ‘meaningful judicial review’ is available, and the

two considerations are analyzed together.” Am. Fed’n of Gov’t

Emps., AFL-CIO v. Trump, 929 F.3d 748, 758 (D.C. Cir. 2019)

(quoting Jarskey, 803 F.3d at 22). The question to ask is

“whether the plaintiffs ‘aimed to obtain the same relief they

could seek in the agency proceeding.’” Id. at 758-60 (quoting

Jarskey, 803 F.3d at 23). Here, the relief Plaintiffs seek

cannot be meaningfully redressed through filing a Section 3662

complaint.

     The third consideration is whether the claim is “beyond the

expertise” of the PRC. Plaintiffs’ procedural claim does not

require the “agency expertise” the statutory procedures

contemplate. Berkley, 896 F.3d at 630. Accordingly, precluding

district court jurisdiction here would completely deny plaintiff

meaningful review given the timing of the implementation of the

Postal Policy Changes.

          3.   Plaintiffs’ Section 3661(b) Claim Is Likely
               Reviewable Pursuant To The Ultra Vires Doctrine

     While as a general matter “the Postal Service is exempt

from review under the Administrative Procedure Act, . . .          its

actions are reviewable to determine whether it has acted in

excess of its statutory authority.” N. Air Cargo v. U.S. Postal


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Serv., 674 F.3d 852, 858 (D.C. Cir. 2012). “The scope of Non-APA

review is narrow . . . [and] is available only to determine

whether the agency has acted ultra vires—that is whether it has

exceeded its statutory authority.” Sears, Roebuck & Co. v. U.S.

Postal Serv., 844 F.3d 260, 265 (D.C. Cir. 2016) (quotation

marks and citations omitted).

     Defendants contend that ultra vires review is unavailable

because: (1) Plaintiffs cannot show that USPS acted “in excess

of its delegated powers and contrary to a specific prohibition”

because they cannot show that USPS violated Section 3661(b); and

(2) Plaintiffs have a “meaningful and adequate means of

vindicating [their] statutory rights” because they can file a

complaint with the PRC pursuant to Section 3662. Defs.’ Opp’n,

ECF No. 30 at 40 (citing Nat’l Air Traffic Controllers Ass’n

AFL-CIO v. Fed. Serv. Impasses Panel, 437 F.3d 1256, 1258 (D.C.

Cir. 2006) (internal quotation marks and citations omitted)).

     The Court is persuaded that Plaintiffs claim is reviewable:

          “Even where Congress is understood generally
          to have precluded review, the Supreme Court
          has found an implicit but narrow exception,
          closely paralleling the historic origins of
          judicial review for agency actions in excess
          of jurisdiction.” Griffith v. FLRA, 842 F.2d
          487, 492 (D.C. Cir. 1988) (citing the leading
          case, Leedom v. Kyne, 358 U.S. 184, 188, 79
          S.Ct. 180, 183-84, 3 L.Ed.2d 210 (1958)
          (finding   judicial  review   proper   despite
          statutory preclusion of judicial review, where
          the NLRB acted “in excess of its delegated


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          powers and contrary to a specific prohibition”
          in the NLRA)).

Aid Ass’n for Lutherans v. U.S. Postal Serv., 321 F.3d 116,

1172-73 (D.C. Cir. 2003). Plaintiffs claim here is that the USPS

failed to comply with the requirement Congress set forth in

Section 3661. Accordingly, Plaintiffs’ claims “clearly admit of

judicial review.” Id. at 1173.

          4.   USPS Likely Failed To Comply With Section 3661(b)

     The scope of non-APA review includes, among other things,

“a straightforward question of statutory interpretation.” Nat’l

Ass’n of Postal Sup’rs v. U.S. Postal Serv., 602 F.2d 420, 432

(D.C. Cir. 1979). In conducting this review, “[t]he judicial

role is to determine the extent of the agency’s delegated

authority and then determine whether the agency has acted within

that authority. In this as in other settings, courts owe a

measure of deference to the agency’s own construction of its

organic statute, but the ultimate responsibility for determining

the bounds of administrative discretion is judicial.” Id. at

432-33 (internal citations omitted).

     Section 3661(b) provides that “[w]hen the Postal Service

determines that there should be a change in the nature of postal

services which will generally affect service on a nationwide or

substantially nationwide basis, it shall submit a proposal,

within a reasonable time prior to the effective date of such


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proposal, to the Postal Regulatory Commission requesting an

advisory opinion on the change.”

     Persuasive authority has construed Section 3661(b) as

follows:

           The language of the statute . . . indicates
           that three factors must coexist before 3661
           applies. First, there must be a ‘change.’ This
           implies that a quantitative determination is
           necessary. There must be some meaningful
           impact on service. Minor alterations which
           have a minimal effect on the general class of
           postal users do not fall within 3661. Second,
           the change must be ‘in the nature of postal
           services.’   This   involves   a    qualitative
           examination of the manner in which postal
           services available to the user will be
           altered. Third, the change must affect service
           ‘on a nationwide or substantially nationwide
           basis.’ A broad geographical area must be
           involved. These three factors combine to
           demonstrate   that   Congress    intended   the
           safeguards of 3661 to apply only when changes
           of significance were contemplated.

Buchanan, 508 F.2d at 263.

     There is no dispute that the USPS did not comply with

Section 3661(b) prior to implementing the Postal Policy Changes

at issue in this case. Defendants argue that the Postal Policy

Changes do not implicate Section 3661(b) because: (1) there has

been no “meaningful impact on service;” (2) postal services

available to the user have not been altered; and (3) the changes

have not affected service in a broad geographical area. Defs.’

Opp’n, ECF No. 30 at 42 (quoting and citing Buchanan 508 F.2d at

263). In support, Defendants argue that sorting machines are

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being removed pursuant to a long-existing policy; not a change,

noting that the USPS is in Phase 6 of this initiative. Id.

Second, there is no change with regard to election mail because

it is being treated the same as it has in the past. Id. at 43.

Third, the ESAS pilot program, which has been suspended, was not

national in scope. Id. Fourth, USPS has not prohibited extra or

late trips, but rather has “renewed its emphasis on adhering to

its published schedule.” Id. Defendants conclude that this

latter change is “precisely the type of management direction to

which [S]ection 3661 does not apply.” Id. Finally, Defendants

contend that pursuant to past practice, the types of “nationwide

changes that trigger [Section] 3661’s review are general changes

to postal facility hours or service standards for mail

delivery.” Id. at 44.

     The Court is persuaded that Plaintiffs are likely to

succeed on their claim that Defendants violated Section 3661(b)

by failing to submit the new transportation policy to the PRC.

First, the new transportation policy was a “change” because it

has had a “meaningful impact on service.” Buchanan, 508 F.2d at

263. Plaintiffs have provided evidence showing that the

reduction in extra and late trips has had a meaningful impact on

service because it has resulted in nationwide delays. See supra

at 7-8. Second, Plaintiffs have demonstrated that the reduction

in sorting machines was dramatically accelerated beginning in

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January 2020 as compared with the prior fiscal year. DeChambeau 16

Decl., ECF No. 30-2 ¶ 21. Specifically, while 101 machines were

removed in FY 2019, 711 machines were removed in FY 2020 as of

August 18, 2020, resulting in a nearly 15 percent reduction in

capacity. Id. Defendants have provided no explanation for the

sudden acceleration of the removal of the sorting machines.

     Plaintiffs have also demonstrated that the combination of

the reduction of late trips, extra trips and reduced sorting

capacity puts the timely delivery of election mail at risk.

Coradi Decl., ECF No. 12-34 ¶ 17 (“If postal employees are not

able to make the necessary daily adjustments via late trips,

extra trips, and the full fleet of sorting machines for the 2020

election season, I am deeply concerned about whether the U.S.

Postal Service will be able to deliver election mail as quickly

as it has in the past. Since I began as a letter carrier in

1984, it has been standard practice to treat election mail as

First Class mail with delivery times of one to three days—or

better—regardless of whether it was marked as Marketing Mail,

which has a delivery time of three to 10 days.”); id. ¶ 18

(“Given the recent U.S. Postal Service policy changes which have

reduced sorting capacity and limitations on late trips and extra

trips, I fear that the dedicated employees of the U.S. Postal


16Jason Chambeau is the Headquarter Director of Processing
Operations for the United States Postal Service.
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Service will be prevented from making the necessary adjustment

to accommodate potential influxes of election mail. Election

mail includes ballots, voter registration cards, absentee voting

applications, and poling place notifications. If delivery is

being significantly delated in August, which, in my experience

is when mail volume it typically lower, the risk of even more

dramatic delays beginning in the fall is high.”).

     Plaintiffs have also demonstrated that Defendants’ position

in this litigation that the Postal Policy Changes are not

“changes” is not supported based on USPS’s own statements. See

Email from Mr. DeJoy to All Employees, August 13, 2020, ECF No.

12-22 at 2 (“In order to transform . . . we must make a

significant number of changes that will not be easy . . . .”);

id. (“Unfortunately, this transformative initiative has had

unintended consequences that impacted our overall service

levels. However, recent changes are not the only contributing

factors.”); id. at 3 (“I ask that you bear with me while we work

through these changes to transform for the better . . . .”).

     Second, the change was “in the nature of postal services,”

39 U.S.C. § 3661(b), because it qualitatively altered “the

manner in which postal services [are] available to the user,”

Buchanan, 508 F.2d at 263. As stated above, Plaintiffs point to

evidence showing that the reduction in extra and late trips



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combined with the reduction in sorting machines resulted in

nationwide delays.

     Third, the change affected service “on a nationwide or

substantially nationwide basis,” 39 U.S.C. § 3661(b), because

“[a] broad geographical area [was] involved,” Buchanan, 508 F.2d

at 263. Plaintiffs have submitted evidence that the Postal

Policy Changes have resulted in delays on a nationwide basis.

See supra at 16-17.

     While it is clear that Congress did not intend for the

courts to micromanage the operations of the USPS, requiring the

USPS to comply with the statutory requirement that it obtain an

advisory opinion from the PRC and provide for notice and comment

prior to implementing “a change in the nature of postal services

which will generally affect service on a nationwide or

substantially nationwide basis” is not micro-managing; it is

requiring the USPS to act within its statutory authority.

Furthermore, Congress clearly intended Section 3661 to require

an opportunity for public participation and for independent

review before the USPS implements service changes that will have

a broad effect. The broad scope of the Postal Policy Changes

demonstrates on its face that it is precisely the kind of change

that is to be the subject of the public-participation and

independent review safeguards provided by Section 3661.



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     Finally, defendants argue that because Plaintiffs have a

“meaningful and adequate means of vindicating their statutory

rights” by filing a complaint with the PRC and then seek

judicial review in the D.C. Circuit if unsatisfied, they cannot

establish ultra vires jurisdiction. Defs.’ Opp’n, ECF No. 30 at

41. Plaintiffs respond—and the Court agrees as explained above—

that they lack a “meaningful and adequate means of vindicating

their statutory rights” since “section 3662 would not afford

[them] judicial review of an adverse PRC ruling within a

timeframe that would allow for the meaningful vindication of

their right to notice and opportunity to participate as required

under 39 U.S.C. § 3661(b).” Reply, ECF No. 40 at 19.

     B.   Plaintiffs Face Irreparable Harm

     “In this Circuit, a litigant seeking a preliminary

injunction must satisfy ‘a high standard’ for irreparable

injury.” ConverDyn, 68 F. Supp. 3d at 46 (quoting Chaplaincy of

Full Gospel Churches, 454 F.3d at 297). The movant must

demonstrate that it faces an injury that is “both certain and

great; it must be actual and not theoretical,” and of a nature

“of such imminence that there is a clear and present need for

equitable relief to prevent irreparable harm.” Wis. Gas Co. v.

FERC, 758 F.2d 669, 674 (D.C. Cir. 1985) (quotation marks and

emphasis omitted).



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     Plaintiffs argue that the Postal Policy Changes impede

their ability to combat the spread of COVID-19 because the

failure to timely deliver mail and other reductions in service

standards results in more in-person interactions with government

officials and adversely affects their “ability to provide safe

alternatives to in person voting.” Mot., ECF No. 12-1 at 21-22.

Defendants counter that Plaintiffs have failed to meet their

burden of establishing “that mail delays were necessarily the

result of the challenged policies, or that future delays, if

there are any, would be the result of” the Postal Policy

Changes. Defs.’ Opp’n, ECF No. 30 at 46-47. However, the Court

has already determined that Plaintiffs have shown that there is

a substantial likelihood that the on-going non-speculative harms

they allege caused by mail delays are “fairly traceable” to the

Postal Policy Changes. See supra at 14-17.

     Defendants further counter that this alleged harm is to the

citizens of the states and that States cannot bring parens

patriae claims against the federal government, and that even if

they could, Plaintiffs’ injury is entirely speculative. Defs.’

Opp’n, ECF No. 30 at 48-49. However, Plaintiffs have provided

evidence that the efforts to mitigate the spread of COVID-19 is

aimed at protecting the public health of their respective

jurisdictions as a whole. See Adinaro Decl. ECF No. 12-4 ¶¶ 7-8

(describing the efforts of the New Jersey Department of Health

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to mitigate the spread of COVID-19); Ku Decl. (describing the

efforts of New York, New Jersey, and Hawaii to institute

absentee or mail voting to mitigate the spread of COVID-19).

Impeding these mitigation efforts results in harm to government

Plaintiffs as well as the residents of the states. New York v.

U.S. Dep’t of Homeland Sec., No. 19 Civ. 7777, 2020 WL 4347264,

at *10 (S.D.N.Y. July 29, 2020) (finding that the state

plaintiffs adequately demonstrated irreparable harm where the

Governmental “Plaintiffs provide[d] ample evidence that the

[challenged conduct] deters immigrants from seeking testing and

treatment for COVID-19, which in turn impedes public efforts in

the Governmental Plaintiffs jurisdictions to stem the spread of

the disease.”), stayed on other grounds, No. 20-2537, 2020 WL

5495530 (2d Cir. Sept. 11, 2020).

     Defendants also argue that Plaintiffs’ argument that their

efforts to curb the spread of COVID-19 will be undermined by

mail delays because more residents will opt to vote in person as

speculative. Defs.’ Opp’n, ECF No. 30 at 25. At this juncture,

Plaintiffs need only demonstrate the likelihood of an increased

risk of injury. Winter, 555 U.S. at 22 (“Our frequently

reiterated standard requires plaintiffs seeking preliminary

relief to demonstrate that irreparable injury is likely in the

absence of an injunction.”). Plaintiffs have provided ample

evidence that mail delays are likely to cause more residents to

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vote in person which in turn is likely to impede the spread of

the virus. See Kellner Decl., ECF No. 12-12 ¶ 14 (“Due to

[voters not receiving their ballots on time], additional voters

went to polling places who would not have otherwise needed to,

adding to significant crowds and delays at certain polling sites

for in-person voting. Longer wait times at polling sites is of

particular concern to election officials as this increases the

risk of exposure to COVID-19, thereby threatening the health and

safety of voters, voting officials, and the larger community.”);

Ku Decl., ECF No. 12-13 ¶¶ 17-18 (describing empirical evidence

demonstrating that “voting in crowded polling places increases

the risk of infection”); id. ¶ 12 (describing polls indicating

fewer people intend to vote by mail due to concerns about mail

delays).

     Finally, Defendants argue that all residents need to do is

“mail their ballots a reasonable time before the election (which

is approximately two months away).” Defs.’ Opp’n, ECF No. 30 at

39. However, as Plaintiffs point out, the ability of the

residents of New York, Hawaii, and New Jersey to mail their

ballots is not entirely within the residents’ control since

ballots are not mailed to the residents two months before the

election.

     Plaintiffs’ harm is “both certain and great . . . actual

and not theoretical” because mail delays are impeding

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Plaintiffs’ ability to combat the spread of a highly contagious

and deadly disease and are impeding their ability to provide

safe alternatives to in-person voting. As of September 27, 2020,

204,607 Americans have died from the disease and over seven

million people have been infected with it. See Coronavirus

Resource Center, https://coronavirus.jhu.edu/map.html.

Plaintiffs’ harm is also “of such imminence that there is a

clear and present need for equitable relief to prevent

irreparable harm” because Election Day is November 3, 2020.

     Because Plaintiffs have demonstrated that absent an

injunction they will suffer immediate and irreparable harm to

their ability to combat the spread of COVID-19 and to provide

safe alternatives to in-person voting, the Court need not reach

whether Plaintiffs have also demonstrated the Postal Policy

Changes have resulted in direct, unrecoverable financial harms

nor whether Plaintiffs have demonstrated that the Postal Policy

changes disrupt Plaintiffs’ administration of federal, state,

and local laws and impose additional, unnecessary administrative

burdens.

     C.    The Balance Of Equities And Public Interest Favor An
           Injunction

     The balance-of-equities factor directs the Court to

“‘balance the competing claims of injury and . . . consider the

effect on each party of the granting or withholding of the


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requested relief.’” ConverDyn, 68 F. Supp. 3d at 52 (quoting

Winter, 555 U.S. at 24). “When the issuance of a preliminary

injunction, while preventing harm to one party, causes injury to

the other, this factor does not weigh in favor of granting

preliminary injunctive relief.” Id.; see also Serono Labs., Inc.

v. Shalala, 158 F.3d 1313, 1326 (D.C. Cir. 1998). By contrast,

the balance of equities may favor a preliminary injunction that

serves only “‘to preserve the relative positions of the parties

until a trial on the merits can be held.’” Rufer v. FEC, 64 F.

Supp. 3d 195, 205 (D.D.C. 2014) (quoting Camenisch, 451 U.S. at

395). “The purpose of . . . interim relief is not to

conclusively determine the rights of the parties, University of

Tex. V. Camenisch, 451 U.S. 390, 395 (1981), but to balance the

equities as the litigation moves forward. In awarding a

preliminary injunction a court must also ‘conside[r]         . . . the

overall public interest,’ Winter, 555 U.S. at 26.” Trump v.

Int’l Refugee Assistance Project, 137 S. Ct. 2080, 2087 (2017).

     Defendants fail to identify any equities in their favor and

do not contest the equities in the Plaintiffs’ favor.

Defendants’ only arguments are that they are “undertaking

extensive efforts to facilitate the timely delivery of Election

Mail,” that the two of the four postal policies are not changes—

"one has been stopped, and the fourth has been

mischaracterized”—and that ensuring compliance with the

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injunction “could require the Court to act as an overseer of the

agency’s day-to-day activities.” Defs.’ Opp’n, ECF No. 30 at 50.

     Here, the balance of the equities and the public interest

favor an injunction. It is clearly in the public interest to

mitigate the spread of COVID-19, to ensure safe alternatives to

in-person voting, and to require that the USPS comply with the

law. The equities balance in favor of Plaintiffs because the

relief sought is a targeted preliminary injunction that

prohibits Defendants from continuing to implement the Postal

Service Policies with respect to which an advisory opinion from

the PRC should have been obtained prior to implementation.

Furthermore, the proposed injunction does not contemplate the

Court becoming involved in overseeing the day-to-day operations

of the USPS.




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V. Conclusion
     For the foregoing reasons, the Court GRANTS the Plaintiffs’

motion for a preliminary injunction. Any request to stay this

decision pending appeal will be denied for substantially the

same reasons as those articulated in this Opinion. An

appropriate Order accompanies this Memorandum Opinion.

SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          September 27, 2020




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